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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


  UNITED STATES OF AMERICA


                   V.

                                                                       Criminal No. l:06-cr-161
  VERNON JACKSON,
          Defendant.


                                        MEMORANDUM OPINION


         At issue in this matter is defendant's post-conviction petition, pursuant to the All Writs

Act, 28 U.S.C. § 1651(a), for a writ of coram nobis to vacate his convictions for bribery and

conspiracy to commit bribery.

                                                          I.


         On May 3, 2006, defendant pled guilty to bribing and conspiring to bribe former United

States Congressman William Jennings Jefferson to perform "official acts" for the benefit of

defendant's company,iGate, Incorporated ("iOate")in violation of 18 U.S.C. § 371 and 18 U.S.C.

§ 201(b)(1)(A). Defendant was sentenced on September 8, 2006 to serve 60 months of

incarceration on the conspiracy count and 87 months of incarceration on the bribery count, to run

concurrently, and two years of supervised release on each count, also to run concurrently.

         Defendant subsequently provided substantial cooperation in the government's

investigation of Jefferson and also testified at trial against Jefferson with respect to seven bribery-

related criminal charges.' A jury convicted Jefferson on each of these seven bribery-related

charges, as well as additional bribery-related, racketeering, and conspiracy charges. Following his


'The bribery-related charges against Jefferson for which defendant provided testimony included two counts of
solicitation of bribes, in violation of 18 U.S.C. § 201(b)(2)(A); two counts ofself-dealing and bribery-related honest
services wire fraud, in violation of 18 U.S.C. §§ 1343 and 1346; and three counts of money laundering related to
bribery, in violation of 18 U.S.C. § 1957.

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